              CASE NO. 18-cv-298-SPF-JFJ


IN THE UNITED STATES DISTRICT COURT FOR THE
      NORTHERN DISTRICT OF OKLAHOMA



    RICHARD FELTZ and ASHTON LEE DENNIS,
 On behalf of themselves and all others similarly situated,
                         Plaintiffs,
                             v.

                 VIC REGALADO, et al.,

                       Defendants.




         DEFENDANT STATE JUDGES’
RESPONSE TO PLAINTIFFS’ MEMORANDUM OF LAW




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                   DEFENDANT STATE JUDGES’
         RESPONSE TO PLAINTIFFS’ MOTION FOR JUDGMENT
                     AND BRIEF IN SUPPORT

Evolution of Bond Docket
      As Judge Musseman described in his deposition, the implementation of a
separate bond docket is “a process and not an event”; (See Musseman Depo, attached
as Exhibit 1 at p. 105, ln 22 - p. 106, ln 8) and has continued to evolve from its
inception to the present as course corrections, improvements, and technology
upgrades have been made over the years. While Defendant State Judges continue to
dispute Plaintiffs’ characterization of the bond docket proceedings at the time
discovery closed in January 2021, it will serve the Court to understand how the
docket has evolved to its current state. The court continues to work toward resolving
the tension between consistency, individualization, and efficiency. To that end, there
have been various changes and updates to the process since discovery closed.
      As has been the case throughout, prior to each docket, the special judge
assigned reviews the probable cause affidavits for those arrested without warrant and
scheduled to appear. Court services personnel currently collect a pretrial interview
questionnaire from arrestees that are scheduled to appear on the docket. See Pretrial
Interview Questionnaire, attached as Exhibit 2. The questionnaire includes
information about employment, wages, disability, residency, mental health, drug
use, probation status and military service. The completed questionnaire is then
distributed to the court, the state, and the public defender.
      The arrestees appear by video through MS Teams from a courtroom at the jail.
The judge is in a courtroom in the courthouse during the week and may appear
remotely on the weekend or a holiday. The assistant district attorney and defense
attorneys have the option to appear from the jail, the courthouse, or remotely. The
court, the ADA and the public defender assigned all have copies of the questionnaire,
the probable cause affidavit, and a summary of the criminal history prepared by court
services.1
        The courtroom used for the bond docket is open to the public during the week
and the MS Teams link is published on the Tulsa County District Court website.
Tulsa        County   District    Court      Website     of     Bond      Docket      -
https://www.tulsacountydistrictcourt.org/vh_bond.html,attached as Exhibit 3. The
link allows viewers to participate in the proceedings should the need arise, though
recording the proceedings is prohibited by Local Rule without the express
permission of the judge presiding over the proceedings. Rules for Tulsa County,
Rule 11. See Rule 11, attached as Exhibit 4.
        The bond docket judge calls each arrestee to the podium and announces the
charges of arrest and probable cause determination for the offenses of arrest.2 The
docket sheet, also distributed to the PD and ADA indicates the identity, offense(s)
of arrest, and preset bond (if any) for each arrestee. The judge then reviews the
pretrial packet and asks questions of the arrestee. The PD and the ADA are invited
to make argument or present witnesses. The court then announces the conditions of
release. The court memorializes its findings and decision on a bond docket findings


1
 The NCIC is a federal law enforcement record and its dissemination is restricted by
Title 28, Part 20, CFR eCFR :: 28 CFR 20.33 -- Dissemination of criminal history
record information. The summary prepared by court services includes information
from the NCIC. The arrestee, however, is presumably familiar with his or her own
criminal history.
2
 Defendant State Judges have attached an audio only recording of the bond docket
proceedings held on Tuesday, April 23, 2024, along with the bond docket sheet and
the bond determination findings as Exhibit 5. The audio recording of the bond docket
is being filed conventionally per ECF policy. [Doc. 402]. The recording is not an
official court record and is provided solely as a demonstration of a typical docket for
this Court’s convenience. The docket sheets are also not public records. The bail
findings forms become public record once they are filed with the Court Clerk.
                                        ~2~
form. The findings form includes the information considered by the court for each
arrestee and the court’s decision based on those findings, including employment
status, appearance history, and threat assessment. The bond determination order is
then filed with the NF 3 case and transferred to the CF or CM in the event the DA
files charges (for people arrested without a warrant). See Blank Bond Determination
Order, attached as Exhibit 6. Those arrested pursuant to a warrant already have a
CM or CF file created and the bond findings are filed in the case.
Estimated Timeline of Changes/Adjustments since January 2021
      Covid caused significant disruption to the bond docket which is reflected in
the record. However, Defendant State Judges have continued to make adjustments
to the bond docket. 4
      Beginning in January 2021 the technology upgrades (paid for with Covid
relief money) were mostly installed. The upgrades included multiple cameras in the
courtroom showing the bench, counsel table, and gallery. Additional microphones
were also installed at the counsel table, bench and witness stand. Attorneys have
been regularly instructed to remain seated to make argument so that those present
remotely could hear the proceedings. While the necessary licenses for MS Teams
were being secured, bond dockets were using a mix of personal computers, laptops
and a video conferencing system supplied by the PD’s office to conduct proceedings.
Court services was gathering relevant information about an arrestee prior to the daily
docket and disseminating the information to the court, the DA, and the PD via email
before the docket.


3
 NFs, or “not filed” case numbers and contents (typically the pc affidavit and any
bond information) are not publicly available via oscn.
4
 Defendant State Judges will present a witness at the hearing on May 2, 2024, if
necessary, to support the timeline.
                                       ~3~
       The bond docket began utilizing the MS Team system in March 2021,
including the multiple view camera.
       In May 2021, a Bond Docket Findings form was tested for every arrestee to
determine whether a written form order was logistically feasible and could
efficiently capture the relevant information. These forms were considered judicial
notes and not filed of record or disseminated to any of the participants for the
duration of the trial period.
       By January 2022 a link to the docket became publicly available via the Tulsa
County District Court website. (Ex. 3). The jail and attorneys participating remotely
use the link. The courtroom is open to the public during the week and allows
participation in person for attorneys and witnesses. All judges received training on
how to use the system.
       In November 2022 an Oklahoma statutory change required written findings
for bail decisions on certain offenses. See 22 O.S. § 1101. The previously tested
Bond Docket Findings form was edited to reflect the statutory language and then
implemented.
       To alleviate confusion as to how the form orders were to be filed, the Presiding
Judge issued an Administrative Order in March 2024 requiring each Bond Docket
Findings Order to be filed of record when/if a case is charged. See AO-2024-8,
attached as Exhibit 7. These orders are available as a pdf on oscn unless prohibited
by statute. 5
Caseload and Judicial Assignments in Tulsa County
       The Oklahoma Legislature has determined that Tulsa County should have
fourteen (14) District Judges. 20 O.S. § 92.15(a). District judges have general


5
 Oklahoma bars certain documents in criminal cases from being posted online. See
12 O.S. § 39. All documents in public case files are available from the court clerk.
                                        ~4~
jurisdiction. The Legislature has also determined that Judicial District 14 should
have at least three (3) special judges and has set forth the mechanism by which
additional special judges can be allocated/authorized (by request by the majority of
district judges and approval of the Chief Justice of the Oklahoma Supreme Court).
See 20 O.S. §§ 122; 122(2)(c); 122(4). Special Judges have limited jurisdiction. See
20 O.S. § 123.
         A general breakdown of total case assignments from January 2021 (at the time
discovery closed) to April 15, 2024 6 follows:
    - Juvenile docket:
          o One (1) District Judge assigned to the juvenile docket, 866 assigned cases,
             233 open cases;
          o Three (3) special judges assigned to the juvenile deprived and delinquent
             docket, 4,096 total cases assigned, 1,396 open cases;
          o One (1) special judge assigned to juvenile family/domestic juvenile
             docket 2,957 total cases assigned, 1,314 open cases
    - Probate/adoptions/guardianships docket:
          o One (1) District Judge assigned to 7,240 open cases
    - Family and Domestic Docket:
          o One (1) District Judge assigned to docket; 1,704 total cases assigned, 620
             open cases; The District Judge on the Family docket also handles the
             felony domestic violence cases, of which 816 total cases are assigned and
             137 cases are open.
          o Four (4) special judges assigned to the FD Docket; 11,880 total assigned,
             4,722 open cases.


Assigned cases indicates the total number assigned over the relevant time period.
6

Open/active cases are assigned cases without a final disposition. See Administrative
Office of the Courts Data, attached as Exhibit 9.
                                         ~5~
- Criminal Felony Docket:
      o Five (5) District Judges (special judges do not have jurisdiction to
         adjudicate felony cases) 21,305 total cases assigned, 12,960 cases
         open/active
- Civil Division:
      o Five (5) district judges assigned to the civil division, 16,141 total cases
         assigned, 3,576 active cases
      o Three (3) Special Judges cover – 8,315 pending civil cases as well as the
         name change docket with 108 pending cases and civil mental health
         docket with 654 pending cases;
      o small claims has 2,503 pending cases
- Civil docket/veteran’s court/re-entry program:
      o One (1) district judge, 3,186 total assigned cases, 773 open cases
- Protective Order Docket:
      o One (1) Special judge, 14,268 total assigned cases, 4,627 open cases
         awaiting disposition
- DUI/Drug Court:
      o One (1) Special Judge, 604 total assigned cases, 279 active participants
- Preliminary hearings/mental health court:
      o One (1) special judge; 367 admitted participants to mental health court,
         116 active participants
- Criminal Misdemeanor Docket (includes youth drunk driving intervention and
   misdemeanor diversion):
      o One (1) Special Judge – 4,176 CMs filed in 2021, 4,354 CMs filed in
         2022, 3,910 CMs filed in 2023, and 1,450 CMs filed as of 4/15 in 2024




                                        ~6~
- Felony preliminary hearings:
       o One (1) special judge, 5,023 CFs filed in 2021; 4,857 CFs filed in 2022;
           4,618 CFs filed in 2023, 1,460 CFs filed as of 4/15 in 2024
- Miscellaneous criminal docket (arraignments, bond docket, cost docket,
    property recovery docket and DPS docket):
       o One (1) Special Judge, 9,199 arraignments (CF +CM) in 2021, 9,211
           arraignments (CF + CM) in 2022, 8,528 arraignments (CF + DM) in 2023,
           2,910 arraignments in 2024 as of April 15, 2024
       o NFs (“not filed” cases created for documents pertaining to warrantless
           arrests and bond decisions) – 8,883 NFs filed in 2021; 8160 NFs in 2022;
           7,847 NFs in 2023; and 2,501 NFs filed in 2024 as of April 15, 2024
Court Services Capacity
      The Tulsa County Board of County Commissioners established court services
pursuant to 22 O.S. § 1105.3(A). It provides resources for all aspects of court
programs, not just pretrial release services. For instance, they may have
approximately 150 GPS units total available for use, but those units are used in
pretrial release, diversion, and post-conviction (probation, deferred, etc.) programs.
Court Services is funded through various grants, program and participant fees, and
by the Board of County Commissioners. There are approximately 630 active pretrial
clients utilizing court services in some fashion. Significant expansion of participants
in the pretrial programs through court services would require additional staff and
increased funding would need to be secured.
          Plaintiffs Requested Relief as Proposed should be Rejected
Factfinding and Burden of Persuasion
      Plaintiffs’ proposed order provides that the State must prove by clear and
convincing evidence each of the factual determinations made in support of a bail
determination:
                                        ~7~
      2. A pretrial release hearing does not comply with due process unless
      the following conditions have been met:
             f. If an order of detention is entered at the pretrial release
      hearing—including a de facto order of detention resulting from the
      imposition of a financial condition of release that the arrestee cannot
      immediately afford to pay—a ruling stating the reasons for detention,
      including the evidence on which a finding of danger or flight risk is
      based, and the reasons that available alternative conditions are
      insufficient.
             g. If a financial condition of pretrial release is imposed at the
      hearing—whether it is imposed in the first instance, or is imposed as an
      endorsement of or modification to a financial condition imposed prior
      to the pretrial release hearing—a ruling that the person can afford the
      full assigned amount with his own immediately available resources and
      the evidence on which the ruling is based, or, in the alternative, a ruling
      as would be required for an order of detention, as described in
      paragraph 2(f).
             h. A public written record of the rulings and findings required by
      paragraphs 2(f) and 2(g), identifying the evidence on which those
      determinations were made.
             i. Application of a clear and convincing standard of evidence for
      the findings required in paragraphs 2(f) and 2(g).

      But, contrary to Plaintiffs’ position, due process does not require the state to
prove by clear and convincing evidence each of the factual determinations made in
support of a bail determination.
      First, there is no historical basis for concluding that a clear and convincing
burden of proof must be allocated to the State. While the rule against excessive bail
has deep roots in this country’s common-law heritage (indeed, in the text of the
Constitution itself), there is no settled tradition on where the burden of proof should
lie in bail determination decisions. Where there is no settled tradition, a state’s
allocation of the burden of persuasion to the criminal defendant does not violate the
Due Process Clause. Cf. Medina v. California, 505 U.S. 437 (1992) (state’s
                                        ~8~
allocation of burden to criminal defendant in competency determination did not
violate history and tradition because there was no settled view on where the burden
should lie).
      Second, the allocation of a clear and convincing standard of proof to the state
is not required by the concept of fundamental fairness in operation. Setting
reasonable bail presents state trial courts with the difficult task of weighing the
specific facts of a case against many, often contravening factors, and often in the
face of scant evidence. Those determinations often turn on the persuasive value of
the information presented to the court. Accordingly, trial courts should be afforded
“considerable discretion” in making those challenging determinations. Ex parte
Ramirez-Hernandez, 642 S.W.3d 907, 924 (Tex. App. 2022). Requiring state judges
to make initial bail determinations only by clear and convincing evidence of every
factual consideration unnecessarily limits their discretion and is impractical given
the limited time the state has to accumulate evidence about the criminal defendant
relevant to such a determination—much of which is uniquely within the knowledge
of the criminal defendant himself or herself.
      In contrast to the limited criminal jurisdiction of the federal government,
states have general criminal jurisdiction. “Preventing and dealing with crime is much
more the business of the States than it is of the Federal Government.” Medina 505
U.S. at 445 (cleaned up). Because of this, the federal government usually has the
benefit of exhaustively investigating the criminal defendant it is charging prior to
the initiation of federal criminal process, which is usually initiated by grand jury
indictment.
      By contrast, state and local law enforcement officers engage primarily in
general community policing. The bulk of state criminal cases are initiated by
warrantless arrests. Initial bail determinations in such cases are especially difficult
because the state often lacks any detailed knowledge about the defendant outside of
                                        ~9~
the arresting officer’s observation of the offense for which the defendant was
arrested. In addition, the short time the state has to acquire information about the
defendant outside of the criminal activity for which the defendant was arrested
weighs in favor of a very relaxed evidentiary standard. Cf. State v. Zhukovskyy, 174
N.H. 430, 432, 265 A.3d 27, 29 (2021) (law did not require trial court to hold
evidentiary bail hearing when the parties disputed facts relevant to dangerousness).
Thus, allocating the burden of persuasion to the state on all factual issues pertinent
to an initial bail determination is unworkable and inefficient because the bulk of the
pertinent information necessary for the determination is usually known only to the
arrestee.
      Even in Bearden, the Court did not require the State to bear the burden of
proof relating to ability to pay. In Bearden, the State of Georgia filed a petition to
revoke Bearden's probation because he had not paid the $550 balance of fines and
restitution as ordered. Bearden was notified of the petition and was given the
opportunity to be heard at a hearing on the petition. Bearden and his wife both
testified about their lack of income and assets and of his repeated efforts to obtain
work. Without considering the testimony of Bearden and his wife, the Georgia court
automatically revoked Bearden's probation strictly based on Bearden's failure to pay
as ordered the balance owed. On appeal, the United States Supreme Court held that
fundamental fairness prohibited Georgia from sentencing Bearden to imprisonment
simply because he failed to pay, without considering the reasons Bearden provided
for his inability to pay, and determining that he had not made sufficient bona fide
efforts to pay. Bearden v. Georgia, 461 U.S. 660, 673 (1983). The Supreme Court
accordingly reversed the revocation of Bearden’s probation and remanded for a new
sentencing hearing. Id., 461 U.S. at 662, 673-74. The decision in Bearden was
therefore based upon the sentencing court's failure/refusal to consider evidence
presented—not upon the State's failure to prove the alleged violations were willful.
                                       ~ 10 ~
See Winbush v. State, 2018 OK CR 38, 433 P.3d 1275 (State need not prove ability
to pay).
      A constitutional bail-determination process need not apply a one-size-fits-all
burden allocation. A fair and workable process would instead place the risk of
nonpersuasion on the party expected to have access to information pertinent to the
factor under review. For example, there is nothing unfair about placing the burden
of showing inability to pay on the criminal defendant since information about the
defendant’s ability to pay is more within the criminal defendant’s knowledge than it
is the State’s. This would also apply to other facts that are uniquely within the
knowledge of the criminal defendant, such as his reputation, mental condition, length
of residence in the community, family ties and relationships, employment status,
employment record, and financial condition. Other factors, while perhaps within the
knowledge of the State and the criminal defendant are rarely disputed. For example,
the criminal defendant’s criminal history, the present charge against him, and his
past history of appearing or failing to appear are all facts usually known by both the
State and the criminal defendant. This information is accessible through a search of
court records and court services typically provides a summary of this information to
the State, PD and the court. The state judges should be permitted to allocate the
burdens to the party whom they believe should have access to the information. Thus,
any order entered by this Court should not address the issue of burden allocation or
standard of proof but should simply declare that the pertinent factors should be
considered and the court’s decision should be explained in a manner that allows the
parties and public to understand its basis.
Plaintiffs’ Requested Injunctive Relief
      Fed. R. Civ. P. 65(d) states: “…Every order granting an injunction and every
restraining order must: (A) state the reasons why it issued; (B) state its terms
specifically; and (C) describe in reasonable detail--and not by referring to the
                                       ~ 11 ~
complaint or other document--the act or acts restrained or required…” Fed. R. Civ.
P. 65(d). “Since an injunctive order prohibits conduct under threat of judicial
punishment, basic fairness requires that those enjoined receive explicit notice of
precisely what conduct is outlawed.” Schmidt v. Lessard, 414 U.S. 473, 476 (1974);
see also Calvin Klein Cosmetics Corp. v. Parfums de Coeur, Ltd., 824 F.2d 665, 669
(8th Cir. 1987) (“Broad language in an injunction that essentially requires a party to
obey the law in the future is not encouraged and may be struck from an order for
injunctive relief.”).
       Plaintiffs seek specific injunctive relief solely against the Presiding Judge
which includes:
       The Presiding Judge, in an administrative capacity, is hereby
             ENJOINED as follows:
       1. The Presiding Judge shall maintain a schedule of pretrial release
       hearing dockets that will allow all class members to appear within 48
       hours of arrest.
       2. The Presiding Judge shall provide for the creation of publicly
       accessible records of pretrial release hearing determinations, as
       described in Paragraph 2(h) 7 of the Declaratory Relief, above. The

7
  Paragraph 2(h) of the proposed declaratory judgment reads: “h.A public written
record of the rulings and findings required by paragraphs 2(f) and 2(g), identifying
the evidence on which those determinations were made.”
2(f) reads: “f. If an order of detention is entered at the pretrial release hearing—
including a de facto order of detention resulting from the imposition of a financial
condition of release that the arrestee cannot immediately afford to pay—a ruling
stating the reasons for detention, including the evidence on which a finding of danger
or flight risk is based, and the reasons that available alternative conditions are
insufficient.”
“2(g) reads: g. If a financial condition of pretrial release is imposed at the hearing—
whether it is imposed in the first instance, or is imposed as an endorsement of or
modification to a financial condition imposed prior to the pretrial release hearing—
a ruling that the person can afford the full assigned amount with his own immediately
available resources and the evidence on which the ruling is based, or, in the
alternative, a ruling as would be required for an order of detention, as described in
paragraph 2(f).”
                                       ~ 12 ~
      Presiding Judge shall have the discretion to determine the means for
      creating complete and accurate records, for example by assigning court
      reporters to attend pretrial release hearings, instructing pretrial release
      hearing judges to prepare written orders, or capturing audio or
      audio/video recordings of pretrial release hearing proceedings.

      Plaintiffs also seek injunctive relief jointly against the Sheriff and the
Presiding Judge which includes:
             The Sheriff and the Presiding Judge, in an administrative
      capacity, are hereby ENJOINED as follows:
      1. The Sheriff and Presiding Judge shall provide an in-person or virtual
      forum for pretrial release hearings that allows:
            a. All participants to hear and see one another.
      b. Arrestees and their attorneys to communicate confidentially before
      and throughout the appearances.
      c. Arrestees and their attorneys to examine all documentary evidence to
      be relied on in making any pretrial release determination, with adequate
      time and opportunity for review and confidential discussion.
      d. Arrestees and their attorneys to present documentary and testimonial
      evidence and argument.

      Plaintiffs continue to seek from this Court an order mandating an outcome
determinative process, removal of judicial discretion, and federal oversight into
state criminal procedure. Both the requested injunction and the incorporated
proposed declaratory judgment include vague, unworkable and ill-defined terms
without clear legal standards. Additionally, the injunctive relief would amount to
an order to continue what the court is already doing.
Hearings held within 48 Hours of Arrest
      The current bond docket schedule (February through May) has weekday bond
dockets set for 9:30am and the weekend or holiday bond docket set for 9 am. See
Feb. – May Bond Docket, attached as Exhibit 9. So for instance, currently for the
month of May, weekend bond dockets are scheduled for Sundays and there is no
bond docket on Memorial day. Plaintiffs seek a requirement that bail determinations

                                       ~ 13 ~
be made “no later than 48 hours after arrest”. How granular is the proposed timing
standard? For instance, in the following hypothetical, a PC affidavit indicates
someone is arrested at 8:53am Friday morning and booked in to the jail at 9:37 am
the same Friday morning (too late to appear on that morning’s 9:30am docket). This
person is then scheduled for the 9am Sunday docket (after the 8:53 am arrest, but
before the 9:37am booking). However, he is not called for his turn in front of the
judge until 10:33 am on Sunday. Is that a violation of the requested injunctive relief?
         Or, take a scenario, in which someone is arrested at 8:30am on Thursday, and
    booked into the jail at 10:45am on Thursday. However, this arrestee is not
    competent or is unavailable for the Friday docket for whatever reason (inebriation,
    illness, etc.) and does not appear until the Sunday 9am docket. He is not called for
    his turn until 10:33 am on Sunday. Would that violate the injunction?
         Plaintiffs base their request for a hard 48 hour deadline on the Riverside
    requirement that probable cause be reviewed within 48 hours.8 However, it is not
    the case that arrestees are entitled to an adversarial probable cause “hearing” and
    all that is required is that a court determine that probable cause exists within 48
    hours of arrest. The judges on the bond docket generally review for probable cause
    prior to and as part of the preparation for the bond dockets and the timing of those
    findings are not at issue here. Bail determinations are separate and distinct from a
    probable cause determination, and while the two can be linked for efficiency
    purposes, there is not constitutional requirement that bail determinations occur
    under a strict 48 hour limit. And in fact, the Bail Reform Act, 18 U.S.C. § 3142(f)(2)
    permits a delay of up to three days upon request of the government or five days
    upon request of the defendant.




8
    County of Riverside v. McLaughin, 500 U.S. 44 (1991).
                                          ~ 14 ~
“Affordability” and Availability of Resources
   Plaintiffs’ proposal uses some version of “affordability”. See, e.g. ¶¶ 2(f) and 2(g)
of proposed declaratory judgment. That term, however, does not have an objective
definition which could be easily applied. Is affordability some percentage of
disposable income? Which costs are essential and which are discretionary? What is
a reasonable essential cost? Who decides? At what point does a bond determination
move out of a due process “affordability” realm and into the Eighth Amendment
“excessive” realm? Is it akin to Justice Stewart’s obscenity standard – the parties
will know it when they see it?
      Do Plaintiffs mean to equate affordable with indigent? But affordability is not
synonymous with indigency. Unlike some jurisdictions, Oklahoma does not have a
statutory indigency standard. Rather, a determination of indigency for purposes of a
criminal proceeding is governed by Rule 1.14 of the Rules of the Court on Criminal
Appeals. (See 22 O.S. Ch. 18 Appx. Rules of the Court of Criminal Appeals, Rule
1.14 and Form 13.3, attached as Exhibit 10). An indigency determination requires
the consideration of several factors and is not the product of a rote calculation.
      Similarly, what is the legal standard for “his own immediately available
resources”? Should ownership of or access to illiquid assets be considered? Does
“immediate” mean on his person at the time of arrest? What about a bond
determination the day before pay day? How will this Court apply an “immediately
available resources” determination when called to enforce the judgment?




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Proposed Requirements for Representation
         PDs are specially appointed and available for purposes of the bond docket. 19
    O.S. § 138.5 9 provides the mechanism by which public defenders can be appointed


9
    19 O.S. § 138.5 states:

         A. It shall be the duty of the office of the county indigent defender to
         represent as counsel anyone who appears for arraignment without aid
         of counsel, and who has been informed by the judge that it is his right
         to have counsel, and who desires counsel, but is unable to employ such
         aid; and upon order of a district judge of such county he shall
         investigate any matter pending before the judge and report to him in the
         manner prescribed by the judge.

         B. When a defendant or, if applicable, his parent or legal guardian
         requests representation by the county indigent defender, such person
         shall submit an appropriate application, the form of which shall state
         that such application is signed under oath and under the penalty of
         perjury and that a false statement may be prosecuted as such. The
         application shall state whether or not the defendant has been released
         on bond. In addition, if the defendant has been released on bond, the
         application shall include a written statement from the applicant that he
         or she has contacted three (3) attorneys, licensed to practice law in this
         state, and the applicant has been unable to obtain legal counsel. A
         nonrefundable application fee of Fifteen Dollars ($15.00) shall be paid
         to the court clerk at the time the application is submitted, and no
         application shall be accepted without payment of the fee; except that
         the court may, based upon the financial information submitted, waive
         the fee, if the person is in custody or if the court determines that the
         person does not have the financial resources to pay the fee. Any fee
         collected pursuant to this subsection shall be retained by the court clerk
         as an administrative fee and deposited in the court fund. Before the
         court appoints the county indigent defender based on the application,
         the court shall advise the defendant or, if applicable, his or her parent
         or legal guardian that the application is signed under oath and under the
         penalty of perjury. A copy of the application shall be sent to the
         prosecuting attorney or the Office of the Attorney General, whichever
         is appropriate, for review, and, upon request, the court shall hold a
                                          ~ 16 ~
 as counsel of record in a criminal matter, the bond docket has not traditionally been
 considered an “arraignment” for purposes of appointing counsel. The PD assigned
 to the docket receives all the pertinent information before the docket and
 participates in the docket. The court does not and cannot dictate the manner or
 contours of the PDs representation of their clients. The Chief Public Defender
 makes staffing decisions and the individual PDs represent their clients as they see
 fit. The court does not deny arrestees the ability to present evidence or argument if
 the arrestee or attorney has evidence available. It should also be noted for the Court
 that as recently as 2022, Judge Frizzell in the Northern District of Oklahoma found
 that the Bail Reform Act allows the parties to proceed in a detention hearing by
 proffer without offending due process. U.S. v. Quapaw, 2022 WL 3359365, *7
 (unpublished). 10 (pretrial detainee challenging the detention order on the basis of


      hearing on the issue of the eligibility for appointment of the county
      indigent defender.

      C. If the defendant is admitted to bail and the defendant or another
      person on behalf of the defendant posts a bond, other than by personal
      recognizance, the court may consider such fact in determining the
      eligibility of the defendant for appointment of the county indigent
      defender; provided, however, such consideration shall not be the sole
      factor in the determination of eligibility.
10
  “The U.S. Supreme Court has concluded the procedural safeguards included in the
Bail Reform Act are sufficient to withstand a facial procedural due process
challenge. United States v. Salerno, 481 U.S. 739, 752 (1987). This is because
pretrial detention is regulatory, not punishment. Id. at 748. The Court also noted that
the protections afforded by the Bail Reform Act “are more exacting than those we
found sufficient in the juvenile context” and, further, “far exceed[ed]” what the
Court required in Gerstein to effect limited post-arrest detention until a probable
cause determination is made. Id. at 752.

“A pretrial detention hearing ... is neither a discovery device for the defense nor a
trial on the merits,” U.S. v. Smith, 79 F.3d 1208, 1210 (1996), and permitting the
                                       ~ 17 ~
the sufficiency of the information the government put forward. Quapaw argued the
government must rely on “evidence” rather than “information”. The court rejected
that theory.)
Adequacy of the Record
      What is the standard for “consideration of alternative, non-monetary release
conditions”? The Special Judges on the bond docket are all aware of the alternatives
available, and the bond hearing findings form includes a section for imposing
alternatives. These judges are confronted with all the alternate conditions each time
they complete a bond findings form. They use their judicial discretion to order
various alternatives when they find it necessary and appropriate. As with all
deliberations, they may not go through each available option and announce why
one is rejected or approved, but that does not mean each has not been duly
considered before a decision.
      The Special Judges are already producing a written record of their rulings and
findings at the bond docket. The findings become a public record if charges are
filed for the offense. Pursuant to state law, some filed forms may only be accessible
directly from the court clerk rather than online. Like most counties in Oklahoma,
Tulsa is currently suffering from a critical court reporter shortage. Pursuant to 20



government to proceed by proffer does not violate a defendant’s procedural due
process rights. Rather, the liberty interest at stake is akin to that considered in
Gerstein and the same standards apply. U.S. v. Delker, 757 F.2d 1390, 1397 (1985)
(“The effect of the findings in a detention hearing and a preliminary hearing
(Gerstein) hearing is the same: each hearing determines whether the accused may be
detained pending trial.”). Mr. Quapaw is not entitled to “the full panoply of
adversary safeguards.” Gerstein v. Pugh, 420 U.S. 103, 119 (1975). The court
concludes “[a] right to require the Government to produce its witnesses against him
would complicate the hearing to a degree out of proportion to the liberty interest at
stake.” Smith, 79 F.3d at 1210. Permitting the government to proceed in a pretrial
detention hearing through proffer does not offend due process.”
                                      ~ 18 ~
O.S. § 106.1, the Fourteen Judicial District has 25 court reporter positions currently
allocated (1 for Pawnee County, 24 for Tulsa County). There are currently twelve
(12) court reporter vacancies in Tulsa County. Of the twelve (12) filled court
reporter positions in Tulsa County, one is currently on maternity leave and another
is retiring on November 1, 2024. Proceedings that are recorded in lieu of a court
reporter’s presence require the production of an official transcript by a court
reporter for use in the record. See 20 O.S. § 106.4.
                                  CONCLUSION
      Based upon the current bond docket proceedings, Defendant State Judges
request the injunctive relief against the Presiding Judge as proposed by Plaintiffs
be rejected by the Court as unnecessary. As for the proposed declaratory judgment,
Defendant State Judges request that any such order to be entered provide clear,
workable, objective standard rather than the ambiguous language proposed by
Plaintiffs.
                                       Respectfully submitted,
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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of April 2024, I electronically transmitted
the foregoing document to the Clerk of Court using the ECF System for filing and I
further certify that on this date a true and correct copy of the foregoing was served
via the ECF System to all counsel who are ECF registrants:


                                         /s/Stefanie E. Lawson
                                         Stefanie E. Lawson




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